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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,              §
                                       §
       Plaintiff-Respondent,           §
                                       §
V.                                     §   CRIMINAL ACTION NO. H-08-144-2
                                       §   CIVIL ACTION NO. H-10-4002
AMUDAT T. WILLIAMS,                    §
                                       §
       Defendant-Movant.               §



        ORDER ADOPTING RECOMMENDATION OF THE MAGISTRATE JUDGE


       Pending is the United States1 Response (Document No. 197) to

~efendant/§ 2255 Movant Amudat T. Williams's 28 U.S.C. § 2255

Motion to Vacate, Set Aside or Correct Sentence (Document No. 182) .

The Court has received from the Magistrate Judge a Memorandum and

Recommendation recommending that Williams's Motion to Vacate, Set

Aside or Correct Sentence be DENIED and DISMISSED WITH PREJUDICE.

No Objections have been filed to the Memorandum and Recommendation.

The Court, after having made a de novo determination of the

Government's Response, Williams's          §   2255 Motion to Vacate, Set

Aside or Correct Sentence, and the Magistrate Judge's Memorandum

and Recommendation, is of the opinion that the findings and

recommendations of the Magistrate Judge are correct and should be

and hereby are accepted by the Court in their entirety. Therefore,

       It is ORDERED and ADJUDGED for the reasons set forth in the

Memorandum and Recommendation of the United States Magistrate Judge

signed and filed on August 8, 2011, which is adopted in its
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entirety as the opinion of the Court, that Movant Amudat T.

Williams's S 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 182) is DENIED and DISMISSED with prejudice.            It is

further

     ORDERED that a certificate of appealability is DENIED. A

certificate of appealability from a habeas corpus proceeding will

not issue unless the petitioner makes "a substantial showing of the

denial of a constitutional right."       28 U.S.C. § 2253(c)(2). This

standard "includes showing that reasonable jurists could debate

whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented

were adequate to deserve encouragement to proceed further." Slack

v. McDaniel, 120 S. Ct. 1595, 1603-1604 (2000) (internal quotations

and citations omitted). Stated differently, where the claims have

been dismissed on the merits, the petitioner "must demonstrate that

reasonable jurists would find the district court's assessment of

the constitutional claims debatable or wrong."               Id. at 1604;
Beaslev v. Johnson, 242 F.3d 248, 263 (5thCir.) , cert. denied, 122

S.Ct. 329    (2001).     When   the   claims have     been   dismissed on

procedural grounds, the petitioner must show that "jurists of

reason would find it debatable whether the petition states a valid

claim of the denial of constitutional right and that jurists of

reason would find it debatable whether the district court was

correct in its procedural ruling." Slack I
                                                  120 S. Ct. at 1604. A
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district court may deny a certificate of appealability sua sponte,

without requiring further briefing or argument.              Alexander v.

Johnson, 211 F.3d 895, 898 (5thCir. 2000) .

     For     the   reasons   set    forth    in    the   Memorandum       and

Recommendation, which has been adopted as the opinion of the Court,

the Court determines that Movant has not made a substantial showing

of the denial of a constitutional right or that reasonable jurists

would debate the correctness of the rulings on Williams's waiver or

the merits of his claims.

     The Clerk will enter this Order and send copies to all parties

of record.

     Signed at Houston, Texas this                 Dd               , 2011.




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                                   EWING WE EIN, JR.
                                   UNITED STATES DISTRICT JUDGE
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